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              Exhibit C
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    From:              CHRISTOPHER E. KNIGHT
    To:                reid@flsd.uscourts.gov
    Cc:                CHRISTOPHER E. KNIGHT; Rachel O. Wolkinson (rwolkinson@brownrudnick.com); Sigmund S. Wissner-Gross;
                       Stephen A. Best; Ronald D. Shindler; Alexandra L. Tifford; Esther E. Galicia; Joseph Kaye; Barbara C. Lewis;
                       Rejane Passos; dboies@bsfllp.com; UUngaro@bsfllp.com; Stephen N. Zack; David Boies2; Angela Herazo;
                       Glorissa Olivares; Howard Bushman; Adam Moskowitz
    Subject:           Robertson, Gold, et. al. v. Mark Cuban, Dallas Basketball Limited, et. al. | Case No. 1:22-cv-22538
    Date:              Monday, December 19, 2022 4:45:22 PM
    Attachments:       image212793.png
                       image218338.png
                       image774883.png
                       image679408.png


    Dear Magistrate Judge Reid:

            As we have been instructed, and following a meet and confer with opposing counsel
    today, Defendants respectfully submit the below brief summary of the discovery matters to be
    heard at tomorrow’s hearing. We write to update the Court on the status of counsel’s efforts to
    resolve pending discovery issues. While the parties have been able to resolve some issues,
    several of the issues remain unresolved, as set forth below, and need to be addressed at
    tomorrow’s hearing:

                   1. Selection of a Mediator

            Under the Court’s Amended Scheduling Order (ECF No. 58), the parties are required
    to select a mediator by December 27, 2022. The parties have agreed to request that Rod Max
    serve as the mediator in this matter, and will be contacting him shortly. Defendants do not
    believe that any mediation in this matter would be constructive prior to the completion of fact
    and expert discovery.

                   2. Entry of Defendants’ Proposed Two-Tiered Confidentiality Order

            Unfortunately, the parties were unable to reach an agreement on the form of a
    proposed confidentiality order. Defendants have proposed a standard confidentiality order
    with two tiers of confidentiality: Confidential and Highly Confidential. See ECF No. 56-3. A
    two-tiered confidentiality order is particularly warranted here, as the case involves Mr.
    Cuban’s sensitive personal information (Plaintiffs have already asked for personal financial
    information from Mr. Cuban) and the Mavericks operate in an extremely commercially
    sensitive and competitive business space. Courts in this District routinely approve two-tiered
    confidentiality orders with a Highly Confidential or Attorneys’ Eyes Only designation to
    protect particularly sensitive information. Indeed, Plaintiffs’ counsel agreed to a similar two-
    tiered confidentiality order in a related case against his clients in the Voyager bankruptcy
    proceeding.

           Courts in this District have rejected Plaintiffs’ argument regarding the potential for
    over-designation, recognizing that protective orders provide a mechanism for objecting to any
    such over-designation. Indeed, Defendants’ proposed protective order includes such a
    provision, through which any party can raise the issue of over-designation before Your
    Honor. Defendants propose adoption of its proposed two-tiered protective order, a copy of
    which Defendants can provide prior to the hearing.

    3.      The Timing of Mr. Cuban’s Deposition
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            On November 7, 2022, Plaintiffs noticed Mr. Cuban’s deposition for January 13, 2023
    at 10:00 am—notwithstanding Plaintiffs’ counsel’s statement in the Notice of Hearing that it
    sought to take his deposition before the holidays (ECF 61 at 2). Defendants’ counsel have
    advised Plaintiffs that neither Mr. Cuban nor his counsel are not available for a deposition
    prior to the holidays and have asked that Plaintiffs’ counsel identify proposed dates in
    February or March 2023 to depose Mr. Cuban. Plaintiffs’ counsel declined during the meet
    and confer to provide proposed dates to depose Mr. Cuban in February or March 2023. See
    also ECF Nos. 49, 49, 51, 55. Plaintiffs fail to state any legal basis for holding Mr. Cuban’s
    deposition before January 3, 2023. Under relevant authority, Plaintiffs must assert a basis for
    taking jurisdictional discovery. They have failed to do so.

            Defendants submit that Mr. Cuban should not be ordered to sit for a deposition over
    the holiday period in the next two weeks when neither he nor Defendants’ counsel are
    available. Instead, Plaintiffs must make a showing in their responsive papers as to whether
    they can demonstrate entitlement to any jurisdictional discovery in their opposition to the
    motion to dismiss. The Cuban Declaration is a standard limited jurisdictional declaration,
    which courts generally require of an individual defendant seeking dismissal for lack of
    personal jurisdiction. See ECF No. 49 at 5 n.6.

    4.     Entry of Phased Discovery Schedule and Amendment of Expert Witness
           Deadlines

            On December 7, 2022, Defendants timely responded to Plaintiffs’ discovery requests,
    substantively responding to Plaintiffs’ interrogatories and requests for notice to admit, and
    agreeing in response to Plaintiffs’ document requests, subject to their stated objections, to
    conduct a reasonable search for responsive documents. Defendants served Plaintiffs with
    document requests, and responses are due on December 22, 2022. Following execution of a
    protective order and agreement on an ESI protocol, applicable search terms, and the relevant
    document custodians, Defendants are willing to commit to a reasonable, reciprocal discovery
    schedule that will allow both parties to produce responsive and non-privileged documents on a
    rolling basis. Defendants anticipate that counsel will need to review a large number of
    documents in response to Plaintiffs’ requests. Defendants’ counsel asked Plaintiffs’ counsel,
    during the meet and confer, to provide search terms and otherwise participate in negotiating an
    ESI protocol, but Plaintiffs’ counsel declined to engage with Defendants’ counsel in such
    process.

           Provided a protective order is in place, Defendants propose the following schedule:

          •    Parties to exchange lists of proposed search terms and a draft ESI protocol by
               January 6, 2023;
          •    Parties to finalize search terms and the ESI protocol by January 13, 2023;
          •    Initiation of document production on January 13, 2023;
          •    Substantial completion of document production by March 13, 2023; and
          •    Fact depositions of all witnesses to commence on March 14, 2023.

            Defendants also propose adjustment of the deadlines for expert witness reports and
    rebuttals set forth in Judge Altman’s pre-trial discovery schedule (ECF 58), which permits
    amendment by Your Honor. Rather than exchange expert reports on February 23, 2023,
    Defendants submit that it would be far more efficient to schedule the exchange of reports after
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    documents have been produced. Defendants propose:

          •    Submission of expert reports on May 12, 2023; and
          •    Submission of expert rebuttal reports on June 2, 2023.

    5.     Third-Party Depositions

            At the meet and confer, Plaintiffs agreed not to proceed at this time with the third-party
    depositions of Jeffrey Mishkin (a Skadden attorney and mediator, and former GC to the NBA
    prior to approximately 2000), Henry “Que” Gaskins (Chief Brand & Innovation Officer at the
    NBAPA), and Donnie Nelson (former General Manager of the Mavericks, who was fired in
    June 2021, well prior to the Mavericks’ first contacts with Voyager). While Defendants have
    advised Plaintiffs that they did not believe any of these non-party witnesses have any relevant
    information, in the case of Mr. Nelson, Defendants’ counsel during the meet and confer
    offered to join Plaintiffs’ counsel on a call to Mr. Nelson’s counsel to confirm that fact before
    any further attempt is made by Plaintiffs’ counsel to schedule the Nelson deposition, but
    Plaintiffs’ counsel declined to participate in such a joint call. The parties have reserved all
    respective rights on such third-party depositions.

           Plaintiffs have noticed the deposition of former defendants Stephen Ehrlich for January
    25, 2023. Defendants have suggested that if depositions in the case commence after the
    conclusion of document discovery, that Mr. Ehrlich’s deposition be adjourned to a date after
    March 14, 2023.

    6.     Plaintiffs’ Request to Depose Defendants’ General Counsel and Former Associate
           General Counsel

            Plaintiffs have noticed the depositions of Sekou Lewis, General Counsel to the
    Mavericks, and Nicole Leach, who formerly served as Associate General Counsel. Any
    information Mr. Lewis and Ms. Leach have concerning the relationship between the
    Mavericks and Voyager is covered under the attorney-client privilege. Plaintiffs have agreed
    to not proceed with such depositions.

    7.     Whether Some Depositions Will Be in Person

            While the parties agree that most depositions will be conducted remotely (e.g., by
    Zoom), Defendants believe that the credibility of some of the named Plaintiffs is such that an
    in-person deposition may be preferable, to ensure adequate examination. The parties have
    agreed to work in good faith to identify which depositions are to be taken in person, and the
    situs of such depositions.

                                            *       *       *

    Respectfully submitted,


    CHRISTOPHER E. KNIGHT
    Managing Shareholder
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    Brickell Arch                                                           direct 305.789.9210
    1395 Brickell Avenue                                                     main 305.789.9200
    14th Floor                                                             mobile 305.607.2624
    Miami, Florida 33131                                                       fax 305.728.7510
                                                                      CKnight@fowler-white.com
                                                                           vCard | Bio | Website

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